Case: 1:17-cv-02667 Document #: 15 Filed: 09/05/17 Page 1 of 33 Page|D #:370

UNITED sTATEs DIsTRICT CoURT F l
FoR THE NoRTHERN DISTRICT oF lLLlNols D
EASTERN DlvlsloN L E

sEP 05 2011 jj

 

 

 

)
ln,nq /,» Cq/P@.,J¢/ ) THOMAS G. BRuToN

,_ , ) CLERK, U.S. D|STR|CT COURT
3 /’Qm.' l /l/ , )
)
Plaintiff(s), )
)

vs. ) Case No. l_’ /7-<:(/-©¢;&(07
v _ _ )
C,-H mi Cl\» mo )
/ \/ )
J- A+im-/..nb.. /.~, )
h SQM'DSDV) )
)
Defendant(s). )

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COMPLAINT FOR VIOLATION OF CONSTITUTIONAL RIGHTS

T his form complaint is designed to help you, as a pro se plaintiff state your case in a clear
manner. Please read the directions and the numbered paragraphs carefully. Some paragraphs
may not apply to you. You may cross out paragraphs that do not apply to you. All references
to “plaintiff” and “defendant” are stated in the singular but will apply to more than one
plaintiffor defendant if that is the nature of the case.
l. This is a claim for Violation of plaintiff’S civil rights as protected by the Constitution and

laws of the United States under 42 U.S.C. §§ 1983, 1985, and 1986.
2. The court has jurisdiction under 28 U.S.C. §§ 1343 and 1367.

3. Plaintiff’s full name is 'd|'é. r) C{ LOLM`§C CQran+e/`

If there are additional plaintiffs, fill in the above information as to the first-named plaintiff
and complete the information for each additional plaintiff on an extra sheet.

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4.

Defendant, Cf jL`/y O`(: C)'\ tCQjO @7£ C? j

(name badge number ifknown)

E an officer or official employed by

,1s

 

(dcpartment or agency of government)

Ol‘

 

E an individual not employed by a governmental entity.

If there are additional defendants, fill in the above information as to the first-named

defendant and complete the information for each additional defendant on an extra sheet.

5.

The municipality, township or county under whose authority defendant officer or official

acted is C 1“#\/ (<)`i: C Ll /CQC'i"O
/ ~_/
constitutional claims, the municipality, township or county is a defendant only if

custom or policy allegations are made at paragraph 7 below.

. As to plaintiffs federal

On or about j )QU . /Z. QGIQ , at approximately \;OO LX| a.m. El p.m.

( month day year)

plaintiff was present in the municipality (or unincorporated area) of Cb 1`§ q §~Q

D€i@g£il[\@]‘; U‘i' édmih§;hg-L; rig pit »,in the County of COO,K

3

 

Stare<)flllinois at 900 wesj' gaff/mr Ch? case lt /M(a/O,

(identify location as precisely as possible)

when defendant violated plaintiffs civil rights as follows (PlaceX in each box that

applies) :

committed, was committing or was about to commit a crime;
used excessive force upon plaintiff;

one or more other defendants;
failed to provide plaintiff with needed medical care;
conspired together to violate one or more of plaintiffs civil rights;

Other: I $j»`¢{e/§ “.In (_,olui '\j

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arrested or seized plaintiff without probable cause to believe that plaintiff had

<__I_”¢len¢ L\/ _I'he£i 3~ l/"iorfsqs jo i’mu</{ which

searched plaintiff or his property without a warrant and without reasonable cause;

failed to intervene to protect plaintiff from violation of plaintiffs civil rights by

§C¢,Sjp€mj¢¢i 01 {A)/~c/\J?[qj @,,U;-’~<,i-v(on /€wrc/ Qjc. »-13/- /‘1)( §,_./) q,.u/

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cld,ac,,c)i/iwa tag fe pay +/)e/h /*)e/l€/i/
Defendant crncet ct cfnciai acted pursuant tc a cuctctn ct pciicy cf defendant
municipaiity, county ct tcwncinp, Wincn cuctctn et policy is the rciicwing; (Leavc» blank
ifnc custom cr policy is ailcgcd)=
D€/l:@t\ria/H,L @ Cl{'>( S‘f C/Al(/f/j ) 61ch par§c'm/_
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w ila hireth me act/my H/n /l/ ohio f a,'>; patéqé£

Ur\der ~/~l\e_ Ij>/ls€b///)L/V La‘~!

Plaintiff was charged with one or more crimes, specifically:

/l/)\/ gen Le.lli Clo¢mb /'_)cts q wronta[q/
CD/’\Ut<fl’/OV\ 19/1 1113 Cétord boldth have nob[~
headed eagth n 5e1-j o s <:>f Vl/¢@>f»

 

 

 

(Place an X in the box that applies. lf none applies, you may describe the criminal
proceedings under “Other”) The criminal proceedings

ij are still pending
|:| were terminated in favor of plaintiff in a manner indicating plaintiff was innocent.‘

ll Plaintiff was found guilty of one or more charges because defendant deprived me of a

fair trial as follows

 

 

B Other:,/l/)>// §2/\ )’l¢l.$ C/ wmhj]&,{ CJ;'>U/C`i'loh ph }\/3 fCéo‘t./.

 

1Examples of termination in favor of the plaintiff in a manner indicating plaintiff was innocent

may include a judgment of not guilty, reversal of a conviction on direct appeal, expungement of the
conviction, a voluntary dismissal (SOL) by the prosecutor, or a nolle prosequi order.

3

ll.

lZ.

13.

 

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lO. Plaintiff further alleges as follows: (Describe what happened that you believe
supports your claims. To the extent possible, be specific as to your own actions and
the actions of each defendant.)

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Céhut'<>ln‘bh on his VCCOrC_th and el>l\x> Gi'/§/ O`f C/l/C‘j'f/FO
cit/ldf tillle ll”`erlams +D 56 f\af‘i§S/"i`j /’1€.€”)1¢/ hv$/
~‘pami/>/l. rie/qun<lm_js C/t$ ’f@ p‘i/\/ /4’)0!>€)/ »£r d¢ltfs.
Defendant acted knowingly, intentionaiiy, willfully and maliciously

As a result of defendant’s conduct, plaintiff was injured as follows;

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dL/<»L 150 *H\.em bcm§ h cr‘¢$$u/t,.i H\ W"" ’159[“{ who "‘""‘7 "<"J “/'“’15/¢»/%{/§ @~c"faff`j/
Plaintiff asks that the case be tried by a jury. R Yes l:| No

 

 

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14. Plaintiff also claims violation of rights that may be protected by the laws of Illinois, such
as false arrest, assault, battery, false imprisonment, malicious prosecution, conspiracy,

and/or any other claim that may be supported by the allegations of this complaint

WHEREFORE, plaintiff asks for the following relief:

A. Damages to compensate for all bodily harm, emotional hann, pain and suffering,
loss of income, loss of enjoyment of life, property damage and any other injuries
inflicted by defendant;

B. M (Place X in box if you are seeking punitive damages.) Punitive damages
against the individual defendant; and

C. Such injunctive, declaratory, or other relief as may be appropriate, including

attorney’s fees and reasonable expenses as authorized by 42 U.S.C. § 1988.

Plaintift`s signature: 2‘-<;»0_/ 3 @Lc,QO/:£Tq

Plaintiff’ s name (print clearly or type):`];i f] q // - Cq;/'@@n‘_i'<’/"

Plaintiffs mailing address: ?39@ 5) Q¢/,~>/ A/U/@_

City ( ll\}` Cq_j@ State ll 5 ZlP (QOQC;&

Plaintiff’s telephone number: (Z'l)) 73 )' 79 g 3~

 

 

Plaintiff’ s email address (if you prefer to be contacted by email):

 

15. Plaintiff has previously filed a case in this district. il Yes |:l No

Ifyes, please list the cases below.

Z/Tt{a thau_,ZS/v-tu»o¢,\tu// 2 il /7-w»%8'3
Any additional plaintiffs must sign the complaint and provide the same information as the first
plaintiff An additional signature page may be added.

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llnited States District Court

For the Northern District of lllinois, Eastern I)ivision

 

I'l‘ina l,, (`al'pentcl‘ & family ) Case Number l;l7-Cv-OZ()()7
l’laintil`t`_<; ) ludge: Gai‘y Feinerman
Jury Demand: $252,()00,000 and over

vs )

(`it_\' ot`(`hicagoi ct ali its attorney )

lincbal'gel', (}oggan, Blail‘ & Sampson LLP

l’l\‘(" Bank NA and its attorneys )

(`lal'k Hill PLC; l\'lal'\/'ili Pinl<ney,

l\lctl‘o Ford Managel‘; Exeter Finance )

(`ol'pol'atioll, 'l`homas Dartt

(`ool\ (`ount_v Shel'ift`; Daniel Widavvsky, )

(`ity (`omptl‘ollel’; Tholnas Holme&

Rcal Pl'opelty Management; Kylie C`l'yel‘, )

(i\| l"inancia| (`ompliance /\dministl'ation;

(,ic‘<)i'gc Sct)tti ()wnel‘ oi`Oli€ StOp )

'l`t»\\ing (`olnpany; ileft` [)ayton &

l\lichellc Szlc|<, N(`B Management Sel‘vices; )

Rachel Kostel; Santander Loss Mitigation

l\'lanagcl; Rahnee Patrick )

l)il'cctor of ."\CCCSS living

(lndependent Li\'ing); Kevin Hannigan, )

(`ity ol`(`hicago l~leal'ing Administration;
lack Hallberg Allstate lnsurance Agent;
l’ol‘chia Pea\l'y-(,`n'eenw Propelty l\/lanager )
()t`Mil\\'aul\'ee Apal‘tments, Petel‘ A.
:.\'luntanel; Peoples Gas; )
\'el'onica Gomezt Sl'_Vice President
& (ieneral (`ounsel ((`omEd); Danielle )
Il)t't DJ E%t Ford Motor Credit Company;
i\il' lsct`evoul; Owner Mc(`arthy Ford); )
(}l'cgol‘y (j. Pleska, City of(,`hicago
|leal‘illg Administratol‘

Defendants.

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Second Amended Complaint

1 L<;/,<;//_( luL/.,
(`it_\' ol`(T|\icago and its
i~\ttorney`s Linel)arger, (,`oggan,
B|air & Sampson
l. l. 'l`rina ls. (`arpenter state a claim for violation under Americans with Disabilities as

.`

protected by the constitution and the laws ot`the United States under 42 U.S.C. §§ IQS`>,
1085 and l‘)So.

'I`|lc court has jurisdiction under 28 U.S,(`. §§1343 and 1367,

l, 'l`rina L. (`arpenter & Family have unresolved issues ofldentity Theft & l\/lortgage Fraud.

 

4 (')n l\lov IS, ZOlo at O:O()am; at the last Administration Hearing, the City ofChicago and its
attorneys Linebarger, Goggan, Blair, and Sampson failed to intervene to protect me and my
family from violation ofour civil rights by more other defendants in which they conspired
together to violate our Civil rights

5. 'l`he (`ity ot`Cllicago and its attorneys stated at the last administration hearing held on
November 18` 201(), that they do not get involve with criminal investigations such as
ldentity 'l`het`t and Moltgage Fraud, ln relation to this, we were forced out of lny home
Septcmbcr 2<, 20 l o and on Oclober 17, 20 l o our possessions were taken ln result ofthese
issues; me and my daughters driver license was wrongfully suspended and my son has a
wrongful conviction on his record that he has been trying to expunge l\/ly daughter had a
vehicle wrongly taken from her in 2013,

o li vl'rina L. (`arpenter reported all ofthis to the following federal bodies: the FBI, the
("onsumer l"inancial Protection Bureau (CFPB), the FTC (Federal Trade Commission),

(`llicago Police and the three credit bureaus and these actions were marked as fraud The

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(`ity of ("hicago was made aware ot`the fraud alerts which disputes that we do not owe the
(`ity of (`hicago any money The (`ity ofChicago was aware that l had a disability Their
attorneys admitted to me on Nov, 18, 2016 that under the Disability Law it is a violation to
demand money and to come after one`s possessions The City Chicago and other defendants
in\ol\'ed is in violation7 for harassing lne and my family by phone and mail demanding that
we owe them money ln re Convergent 'l`elephone Consumer Protection Act litigation, (`ase
No it; l3-iritl-()2478-AWT; l\/lDL No. 2478 proves telephone harassment

7. l.lnder rule 8(a)(2) l, Trina L. (`arpenter & Family are entitled to relief from the City of
(`hicago and its attorneys Under Federal Ru|e S(a)(?.) and lO(b) l plead to be compensated
for everything that were taken from us including home, possessions and vehicles plus a
monetary demand

8 Undcr Federal Rule 8(a)(3) l sought a reliefto be compensated with a brand-new home,
hrand~new vehicles and brand-new possessions plus an amount of$lZ,OOO,()OO and over per
defendant (totaling out to $252_000.000 & over) for the long period ofpain & suffering, for
the health problems this has Caused us, doctor bills and hospital bills including medication-
copa_ys for the emotional harm & stress this has caused me and my family_ for the financial
harm this has caused us, for the damages this has caused us, and for the loss oflife
enjoyment

‘) l_ 'l`rina L_ (`arpenter & Family pray that we are guaranteed with everlasting consumer
protection under the federal law so that no one cannot take anything from us again l, Trina
la (`arpenter & Family with such sincere, ask to be consistently protected from unfair and
deceptive business practices

l,!<jici/le/;M_L
I’N(Y Bank NA

 

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and its attorneys
(Tark Hill PLC
l. /\ccording to a response sent to me by Pl\l(` Bank l\lA and its attorneys Clark Hill PL(`
dated January 20q 2017; they were aware of other defendants who performed deceptive
practices against me involving wrongly suspended driver license, identity theft, and
various incidents involving my children
2 P.\l(` Bank, NA was aware of lny disability and is in violation for l\/lortgage Fraud,
l)el`amation of (`haracter & l\lisappropriation ofldentity, \/iolating the Privacy Act,
\"iolating the 'felephone Communication Protection ACT and l\/lail Fraud with the intent
to injure harm or kill PNC Bank, NA and its attorneys lnade false pretenses stating that

my property has been foreclosed ln relation to this, we were forced out of my home

September 287 2016 and on October l7, 2016 our possessions & vehicles were taken

'JJ

Under Federal Rule 8(a)(2) and lO(b) l plead to be compensated for everything that were
taken from us including home, possessions and vehicles plus a monetary demand Under
federal Rule 8(a)(3) l sought a reliefto be compensated with a brand-new home7 brand-
new vehicles, and brand-new possessions plus an amount of$lZ,OO0,000 and over.
ill/lifatL////_S.

Marvin Pinkney

l\'letro l"ord (jeneral Manager

l /\ceording to evidence dated lanuary 20. 2017; General l\/lanager, l\/larvin Pinkney ofl\/letro
l"ord is in violation for getting involve with PNC Bank` NA and Gl\/l Financial and other
defendants with deceptive practices involving wrongly suspended driver license, identity theft,

and various incidents involving my children lrl relation to this, me and my family were forced

out ot`my home oil September 28, 2016 and on October l7, 2016 our possessions were taken

 

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2. (ieneral l\lanager l\/larvin Pinkney is in violation for sending mail to my address inquiring
about ownership of my vehicle with the intent to harm, or defraud 1 last received mail from
Mar\in l’inl\'ney l\“larch 2017.
3 linder l“`ederal Rule 8(a)(2) and lO(b) 1 plead to be compensated for everything that were
taken from us including home, possessions and vehicles plus a monetary demand Under Federal
Rule 8(a)(3) 1 sought a reliefto be compensated with a brand-new home, brand-new vehicles
and brand-new possessions plus an amount of$ l 2,000,000 and over.
/,M,<;/Ld<_/ti_/ei_
lixeter Finance
(,`t)rporation
l _ liketer Finance Corporation requested information of my property on September 3, 2016
and we were forced out of my home on September 287 2016 and on October 17, 2016 our
possessions were taken 1, Trina L. Carpenter believe this inquiry lnade by Exeter Finance
(`orporation was related to the ldentity Theft and l\/lortgage Fraud. Exeter Finance

("orporation is in violation for inquiring about my property under false statements that the

property has foreclosed According to the credit bureaus the property has not foreclosed

lJ

Under Federal Rule 8(a)(2) and lO(b) 1 plead to be compensated for everything that were
taken from us including home, possessions and vehicles plus a monetary demand

linder l"ederal Rule 8(a)(3) l sought a reliefto be compensated with a brand-new home,

faa

brand-new vehicles and brand-new possessions plus an amount of$lZ,OO0,000 and over.

l)e[e//t/t//// 5.

'l`homas Dart
(`,00|\' County Sheriff
I , ()n September 28, 2016 Four l\lon-African Americans Cook County Sheriffs carrie out to

my home and forced me and my family out of my residence Then on October 171 2016

our possessions were taken

 

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w

'JJ`

'l`hese (`ook (`ounty Sheriffs did not have any legitimate papers froln the court to force us
out lnstead they had solne l'lispanic Man waiting outside of my residence since early
that morning to secure the property The (`,ook County Sheriffs instructed tne to get the
document from the Hispanic l\/lan who carrie out to secure the property The document
that the Hispanic lvlan handed over to me was a document froln Real Property
Nlanagement with a phone number to call Thomas Holrttes at (630)796-43()(),

'l`he (`ook ("ounty Sheriffs was made aware ofthat l was a disabled citizen and we were
\"ictims ofl\/|ortgage Fraud and ldentity Theft. l\/lost importantly the Cool\’ County
Sheriffs admitted that 1 done a great job following procedures This is an indicator that
the (`ook County Sheriffs was aware that they were in violation for wrongly forcing lne
and my family out of lny home

/~\fter we were forced out, 1 later called tlle FBI, the C`,FPB, the police, and the three credit
bureaus l was advised by the three credit bureaus not to change my address and to open
an investigation with the United States Postal lnspection Service (USPIS). There is an
investigation with the USPlS.

lt 'l`rina 1,.,. Carpenter & Family remain to be displaced because the appropriate
procedures were not followed to relocate us l, Trina L_ Carpenter called the Federal
llousing Administration (FHA). l spoke to a FHA Resource Quality Assurance
Supervisor on Thursday August 24, 2017 at 9:48am and l was given Service Quest No#
("AS-6618249 to be followed up by a HUD (`ounselori The FHA asked me a federal
question"? The Federal question that FHA asked Do I want to remove the property that 1

was forced out of`_)

 

 

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6 Under Federal Rule 8(a)(2) and lO(b) 1 plead to be compensated for everything that were
taken from us including home, possessions and vehicles plus a monetary demand Under
Federal Rule 8(a)(3) l sought a reliefto be compensated with a brand-new home, brand-
new vehicles and brand-new possessions plus an amount of$ l 2,000`000 and over.

l BlLf/I_</¢,t/;/!z
|)aniel Widawsky
(‘it_v Comptroller
l. l)aniel Widawsky, City (`omptrol|er failed to comply to the federal law and enacted with

.lesse White ()fflce Secretary of State to wrongfully suspending me and my daughter`s

driver licenses

27 llnder Federal Rule 8(a)(2) and lO(b) l plead to be compensated for everything that were
taken from us including home possessions and vehicles plus a monetary demand Under
Federal Rule 8(a)(3) 1 sought a reliefto be compensated with a brand-new home, brand-
new vehicles and brand-new possessions plus an amount of$ l 2,()00,000 and over.

l);/cadtll/_/§

'l`llomas Holmes
R \al Property Management
1 _ ln relation to ldentity Theft and Mortgage Fraud; Thomas Holmes of Real Pl'opelty'
Management is in violation for having me and my family wrongly forced out of my
property by the (`ook €ounty Sheriffs on September 28, 2016 and having our possessions

taken on October 17, 2016 under false pretenses that my property has foreclosed Thomas

Holmes falsely stated that he went to federal court to take possession of my property

id

'l`homas Holmes had some Hispanic Man from his company to hand me a fraud
document stating that the property has been foreclosed and is now owned in possessed by
Fannie Mae. Thomas is in violation for conspiring with others in a scheme involving

l\'lortgage Fraud and ldentity Theft

 

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l\lr. Thomas Holmes stated that he had applied for a loan to purchase my property and he
is waiting for the loan to get approved Thomas llolmes is in violation for applying for a
loan on a property that was not foreclosed 1, Trina L. Carpenter contacted federal bodies
the police, and the three credit bureaus and l was informed that the document by Mr_
llolmes was inconsistent and needed to be handled through the federal court system
4. l,,lnder Federal Rule 8(a)(2) and lO(b) 1 plead to be compensated for everything that were
taken from us including home, possessions and vehicles plus a monetary demand Under
federal Rule S(a)(.`>) 1 sought a reliefto be compensated with a brand-new home brand-
new vehicles and brand-new possessions plus an amount ofSIZ,OO0,000 and over
thiel/sw
l\'ylie Cryer
(jl\'l Financial Compliance Administration
l. According to a piece ofevidence dated January 20, 2017, Kylie Cryer, Gl\/l Financial
(`ompliance Administration got involve with other defendants with deceptive practices
in\olving \.vrongly suspended driver license, identity theft7 and various incidents
involving my children These incidents which have not been resolved have caused me
and my family distress
__ lt Trina ll. C`arpenter have a case with the l\lational Highway Traf`flc Safety
.»\dministration (NHTSA) under Reference l\lumber10683088 that have not been resolved
due to Kylie ("ryer of Gl\/l Financial Compliance Administration not following

procedures Kylie (`ryer ofGl\/l Financial Compliance Administration is in violation for

not complying with the federal law to following procedures ofa pending NHTSA Case.

'.»¢

l was informed by the Ford Motor Credit Company that Kylie Cryer ofGM Financial
(`ompliance Administration did not report my vehicle as a "total loss" to their insurance

company Bell lnsurance is the name oftheir insurance company lenny Ruiz ofBell

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lnsurance called lne back, after a phone call was forwarded by Gl\/l Financial and

informed me that no insurance claim was ever put in on my vehicle by Gl\'l l"inancial.

lnstead Kylie C`,ryer ofGl\l Financial Compliance Administration was trying to deceive

 

me into signing for a Lien Release ofa Title oil a vehicle that was taken from me on
October 175 2016 after me and nly family was forced out of my property on September
28, 2016 This deceptive practice is a big violation
o ,»\fter Kylie Cryer and his administration could not deceive me into signing for a Lien
Release ofa ’fitle, 1 discovered that Kylie Cryer of Gl\/l Financial Compliance
,»\dministration & l\/letro Ford got involved with Pl’\l(` Bank, NA with deceptive practices
involving wrongly suspended driver license, identity theft, and various incidents
involving my children
6 Under federal Rule 8(a)(2) and lO(b) l plead to be compensated for everything that were
taken from us including home, possessions and vehicles plus a monetary demand Under
Federal Rule 8(a)(3) 1 sought a reliefto be compensated with a brand-new home, brand-
new vehicles and brand-new possessions plus an amount of$lZ,OO0,000 and over.
talent/1012
(}eorge Seott
()wner of ()ne Stop Towing
1 _ |n relation to the unresolved issues ofldentity Theft and l\/loltgage Fraud; George Scott
owner ofOne Stop Tow'ing got involve with PNC Bank, NA with performing unfair and
deceptive business practices against me and my family George Scott admitted to lne on
October 26. 2016 at 10:54am t010158am that Pl\l(` Bank, NA authorized his towing

company to take lne and my brother`s vehicles on October 17, 2016 under a pretense

lnade by Pl\l(`1 Bank, l\lA that my property has foreclosed

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2 1 informed George Scott that Pl\l(` Bank, NA had made a false pretense to his towing
company 1 further informed George Scott that 1 am a \/ictim ofldentity Theft and
Mortgage Fraud and my property has not foreclosed George Scott then stated to me, that
ifl want to colne to get our vehicles back l will have to pay fines and penalties This was
an indicator to me that Owner George Scott ofOne Stop Towing was also involve with
the (`ity of (`hicago financial scheme against me and my family which is a violation

under the federal law.

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linder Federal Rule 8(a)(2) and lO(b) l plead to be compensated for everything that were
taken from us including home possessions and vehicles plus a monetary demand Under
federal Rule 8(a)(3) l sought a reliefto be compensated with a brand-new home, brand-

new vehicles and brand-new possessions plus an amount of`$12,000,000 and over

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._lefl` l)a_vton
N(`TB Management Services

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1 . ln relation to these issues ofldentity Theft and l\/lortgage Fraud, 1, Trina L. Carpenter
and my daughter has been working with the three credit bureaus with investigating Jeff
1')ayton at N(`B l\/Ianagement Services 1 spoke to leff Dayton on luly 141 2016 and he
advised me to exercise my consumer rights to have NCB 1\/1anagement Services deleted
from me and my daughters credit files based upon the fact that a statutory scheme was
performed against me and my daughter ofa vehicle that was taken away from us The
vehicle was wrongly repossessed from us while we were disputing it for hidden damages
that we were unaware of The account was then sold to NCB l\/lanagement Services by

Santander_

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eleff Dayton is in violation because after he advised me to dispute the account, 1 started

getting harassed by other NCB l\/lanagement Services employees by mail and telephone

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demanding me and my daughter to pay the debt on a vehicle that was taken from us l felt
that my civil rights and my privacy rights were violated Thus fari NCB l\/lanagement
Services is still under investigation and Seven-year Extended Fraud Alerts have been
added to my daughters credit reports and addition to my Seven-Year Fraud Alerts N(`B
Management Services is progressiver being deleted from our credit reports

linder Federal Ru|e 8(a)(2) and lO(b) 1 plead to be compensated for everything that were
taken from us including home, possessions and vehicles plus a monetary demand Under
l"ederal Rule 8(a)(3) l sought a reliefto be compensated with a brand-new home, brand-

new vehicles and brand-new possessions plus an amount of$12,000,000 and over.

L)gjfi’/rt/t//rl / /
Michelle Sack
N(TB Management Services

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ln relation to the statutory scheme; Michelle Sack ofl\lCB l\/lanagement Services was aware
that my daughter and 1 was advised to dispute our account with NCB l\/lanagement Services
Nlichelle Sack was aware that a statutory scheme was performed against me and my
daughter on an account ofa vehicle sold to NCB l\/lanagement Services l\/lichelle Sack was
aware that the vehicle ofthe account sold to NCB l\/lanagement was wrongly repossessed
r\lichelle Sack is in violation ofthe Telephone Communication Protection Act due to her
going over the brink harassing lne and my family by telephone Also, she is in violation for
not complying with the procedures to dispute NC`B l\/lanagement Services offour account as
advised by JeffDayton on Ju|y 14` 2016. l\/lichel|e Sack is in violation for inquiring about
my daughters information

Under Federal Rule 8(a)(2) and lO(b) 1 plead to be compensated for everything that were

taken from us including home possessions and vehicles plus a monetary demand Under

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l"cderal Rule 8(a)(3) 1 sought a reliefto be compensated with a brand-new home, brand-new
vehicles and brand-new possessions plus an amount of$12,000,000 and overt
Rachel l\'oster
Santander lioss Mitigation Manager
1 ln relation with N(`B Management Services Rachel Koster who has been the Loss
r\litigation Manager at Santander from l\lovember 2008 to present shared our information

with them Rachel Koster is in violation for sharing our information with N(`B

r\/lanagement Services to perform a deceptive practice ofa statutory scheme against me

and my daughter during our dispute ofa vehicle that was sold to us with hidden damages

that we were unaware ofat the time of purchase According to Santander`s record the

 

vehicle was wrongly repossessed from us on 12/20/2013 in disposed ofon 1/22/2014.
/\ccording to a conversation l had with a Customer Service Rep_ ofSantander by the
name ofl\/larkist on l\/larch 307 2017, there could be a paperwork error ofthe exact day

the vehicle was repossessed

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lsoss l\litigation Manager Rachel Koster ofSantander allowed the account to be sold to
N(`B r\lanagement Services while we were disputing it Due to the hidden damages that
we were disputing, the vehicle should not ever have been financed Rachel Koster of
Santander should not have allowed the account to be sold over to l\lCB l\/lanagement
Services This fraudulent action was reported to the three credit bureaus and is under
serious investigation 1, Trina L. Carpenter & Family last followed up with the Chicago
l’olice 1)epartment about this on August 17, 2017 and l was advised to report this to the
federal court system Thus far, Santander is progressively being deleted offour credit

reports

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3_ llnder Federal Rule 8(a)(2) and lO(b) 1 plead to be compensated for everything that were
taken from us including home, possessions and vehicles plus a monetary demand Under
l"ederal Rule 8(a)(3) 1 sought a reliefto be compensated with a brand-new home, brand-
riew vehicles and brand-new possessions plus an amount of§1512,000,000 and over.

1 wearith
Ralinee Patrick
l)irector of |ndependent Living (Access Living)

1. ln relation to unresolved issues of ldentity Theft and l\/lortgage Fraud; Rahnee Patrick
requested for me to bring my Clinical Therapist with me to her place of erriployriient
named Access Living located l 15 West Chicago, lllinois on February 23, 2016 to prove
that 1 am on disability and to bring the preponderance ofevidence to prove that 1 am a
\/ictim of ldentity Theft & l\/lortgage Fraud_ l carrie iri with preponderance of evidence

and my (`linical Tlierapist showed his presence to clarify my disability and other

information w'ith, Rahnee Patrick.

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ln the presence of riiy (`linical Therapistq Rahnee Patrick and her Personal Assistant
(`oordinator Kristiria Reis had liie to fill out an application to l\/lilwaukee Apartments on
liebruar'y 23` 2016 to deceive me that she was relocating me and my family Later, 1
discovered that Rahnee Patrick had me to fill out the Applicatiori to l\/lilwaukee
Apartinents only to share my information to conspire with others against me and my
family instead of relocating me under the federal jurisdiction like she pretended Rahnee
l’atrick handed liie a card with phone number 31 1 handwritten on it and she was
consistently trying to brush me off to the City to sign up for assistance

Then on lylarch 18, 2016` Rahnee Patrick asked me to meet up with her to meet some

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other people at another address ofa place which she is not employed located at 567 west

lake (`hicago, lL. 606544 1 becalne very suspicious of Rahnee Patrick after she stated to

13

 

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6 .

me that the persons she wanted me to meet with her, informed her that l do not trust
anyone Rahnee Patrick then questioned "You trust me. don`t you”?" 1 replied "l do not
trust no orre." l asked Rahnee Patrick to have the people to call lrie who you want lrie to

meet you with

Then someone called my house phone from phone number (773)554-8326 who sounded

like a rrian who was l\lon-African American and asked to speak to my son and he stated
my son`s name 1 remember asking him want did he want He then iriade a threat stating
that he was going to the police station to put soliie wrong charges against my son Shortly
after this my Clinical Therapist called me to inform me that Rahnee Patrick called him

asking questions about me and he answered her stating that he cannot share information

 

with her about me without my written consent

Based upon this Rahnee Patrick has violated the Federal Lawv ofthe Privacy Act by
sharing our information with others with the intent to kill, injure, or harm l feel that ifl
would had riiet up with Rahnee Patrick, she would have had us kidnapped or have had us
delivered in the court system under false charges being rriade against me and my family

1 reported this to the US Court of Appeals and l was advised to do my research and move
on from Rahriee Patrick and her employees at Access Living. According to my research, 1
remember reading that Rahnee Patrick investigate missing persons or deliver persons to
the court system Based upon what 1 have read 1 do riot trust to do any business with
Access lliving. l pray that the federal court has or will thoroughly investigate Rahnee
Patrick of Access Living to see ifshe has performed these federal violations against any
other \/ictims of Crime causing them to be kidnapped or delivered into the court system

under false charges

g

 

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7. llnder federal Rule 8(a)(2) and 10(b) l plead to be compensated for everything that were
taken from us including home, possessions and vehicles plus a monetary demand l.lnder
federal Rule 8(a)(3) l sought a reliefto be compensated with a brand-new home1 brand-

riew vehicles and brand-new possessions plus an amount of$l2,000,000 and over.

Qvt'wl</<_a/!__/i
l\'evin Hannigan
(`it_v of (Thieago Hearing Administration

15

1. 1n relation to these issues of ldentity Theft and l\/lortgage Fraud; 17 Trina L_ Carpenter
was instructed by a (`ity Adlriinistrative Law ludge in a hearing held around April 2015
to address a problem to l<evin Hannigan who is over the City of (`hicago Hearing
Administration based on a l\lational Highway Trafflc Safety Administration (NHTSA)
Repoit l\lumber 10683088 that on February 12, 2015 about some defects to my vehicle
causing my vehicle to smoke that l noticed on February 10, 2015 The Adniinistrator Law

lodge referred me to Kevin Harinigan for further instructions because he stated that the

City ofCliicago does not get involve with NHTSA Cases.

_~

lt Trina L. Carpenter, confronted Kevin l-lannigan about the NHTSA Case and 1 made
him aware that 1 had a disability l believe Kevin Hannigan intentionally misled me ofthe
procedures to resolve my NHTSA Case. ln result of me being misled my license was
wrongly suspended and later; my soli and 1 received letters in the mail by E.\'perian, dated
October 5` 2015 informing us about incidents ofldentity Theft that was performed
against us At that point, my son and 1 contacted the three credit bureaus and we were
instructed to get a Police Report. We followed up with the police and received a Police
Re,port l)ated l\lovember 10, 2015 Since then l updated my police report dated Jan, 30q
201 7_ 'l`he police department informed us that one police report supplements the entire

household

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l strongly believe Kevin Hannigan ofthe City ofChicago Hearing Administration
intentionally misled me and that he was involved with other defendants to perform
deceptive practices involving wrongly suspended driver license identity theft, and
various incidents involving my children l believe Kevin Hannigan caused these issues to
occur when he misled me ofthe NHTSA Case back in 2015. Kevin Hannigan is in
violation for conspiring with others to performing such acts ofdeceptive practice against
me and my family

Under Federal Rule 8(a)(2) and lO(b) l plead to be compensated for everything that were
tal\’en frorn us including home, possessions and vehicles plus a monetary demand Under
l"ederal Rule 8(a)(3) l sought a reliefto be compensated with a brand-new home, brand-

new vehicles and brand-new possessions plus an amount of$12,000,000 and over.

Jack Hallberg
.~\|lst;\te lnsurance Agent

16

ln relation to the unresolved issues of ldentity Theft and l\/lortgage Fraud; l, Trina L.
(,"arpenter was contacted by Allstate lnsurance after l sued them in state court under Case
l\lumber 09 l\/ll 206243 which was dismissed December 17, 2010 The case was
dismissed with stipulation of agreement Therefore, Allstate lnsurance had no reason to
contact me about homeowner`s insurance and they had no reason to make inquiries of my
property records lack Hallberg of Allstate lnsurance contacted rne; around the same
time when Pl\l(` Banl\', l\lA lnsurance Center sent me a l7-page document dated February
20w 201() about a one-year renewal of hazard insurance

lt "l`rina L. (`arpenter has not been in communication with Allstate lnsurance or Pl\lC
Banl\', NA. Allstate lnsurance Agent Jacl< Hallberg advised for me to contact him by

phone or to meet him at his office for an insurance quote of my property He sent me a

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fraudulent mail document with three locations of Allstate lnsurance Company which
stated that according to records my homeowners insurance will be expiring soon Jack
l»lallberg sent me this notice twice in the same weeks The document had a false signature
ofmy name l felt threaten by this and l felt Jack Hallberg was conspiring against me
with Pl\l(` Bank; l\lA and others with the intent to kill, injure or harm l believe that Jack
l'lallberg put a false signature of my name with a plan to satisfy an obligation lack

llallberg is in violation for inquiring my property records, signing a false signature of my

naruc and conspiring against me and my family with others with the intent to kill, injure1

or harm

l have anti-trust for Allstate lnsurance Company and l do not want to do anymore
business with them Allstate lnsurance Company remains to be deducting money out of
my bank account for life insurance alter they performed such violations against me and

my family l do not trust to communicate with Allstate lnsurance Company and l further

 

ask that the federal court handle them
4. llnder Federal Rule 8(a)(2) and lO(b) l plead to be compensated for everything that were
taken from us including home, possessions and vehicles plus a monetary demand Under
liederal Rule 8(a)(3) l sought a reliefto be compensated with a brand-new home, brand-
new vehicles and brand-new possessions plus an amount of$l2,000,000 and overt
_/_lgLL'//¢/u/)l /()
Porchia Peavy-Green
Property l\/lanager (l\/lilwaukee Apartments)
l _ ln relation to the unresolved issues ofldentity Theft and l\/lottgage Fraud; l, Trina L.
(`arpenter &Family became very suspicious of Porchia Peavy-Green Property l\/lanager of

Mi|w'aukee Apartments when she sent me a two-sided document along with a duplicate

copy ofthe backside ofthe original two-side document for enclosures The document

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asked was me and my family displaced due to a government action The reason l became

very suspicious of her because she would not tell me who was her boss and she would not

tell ine who the (`oordinator ofthe Waiting List was l done a pop up visit there to speak

 

to Mrs. Peavy-Green to address the issues of me and my family being Victims of ldentity
Theft and Mortgage Fraud. l\/lrs, Peavy-Green stated that she or any else who is over her
cannot speak to me in person about these issues and for me to fill out the Updated Annual

.»\pplication to the best of my ability

[J

l feel that Porchia Peavy-Green is in violation for her intentions to share information
with others who have already conspired against me and my family l feel that the Updated
/\pplication was not really sent out to accommodate me and my family The application
was sent for the purpose to collect information with the intent to perform more deceptive
practices against me and my family after we was displaced l, Trina Carpenter & Family
prefer to be compensated with brand-new homes We do not trust to live in l\/lilwaukee
Apartments. We prefer to live somewhere private so our information will be kept

confidential and not shared with others

b J

l7 'l`rina l.i, Carpenter originally filled the application for l\/lilwaukee Avenue Apartments
on liebruary 23, 201() with the assistance of Rahnee Patrick who is the Director of
liidepeiident living at Access Living. i\/ly Clinical Therapist was present with me to
clarify all ofthis along with a preponderance ofevidence that proves that l am disabled
and ine and my family were Victims of ldentity Theft and l\/lortgage Fraud. After Rahnee
l’ati'ick assisted me with filling out the application, l discovered later that she has shared
my information with persons that had intentions to kill, injure, or damage1 me and my

family

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'l`he federal court advised me to move on from doing business under Access Living. l,

'l`riiia l.,. (`arpenter & Faniily was advised by the ldentity Theft Resource Center that me

and my family living arrangements need to be accommodated with proper care under the

lederal jurisdiction l have antitrust for Porchia Peavy-Green ofl\/lilwaukee Apartments
because the federal law was violated, due to my information being shared in connection
of l)eceptive Practices involving Financial ldentity Theft and l\/lortgage Fraud. l
discussed these issues with FHA and l was given Service Quest l\lo# (`AS-6618249.
llnder Federal Rule 8(a)(2) and lO(b) l plead to be compensated tor everything that were

taken from us including home possessions and vehicles plus a monetary demand Llnder

 

l"ederal Rule 8(a)(3) l sought a reliefto be compensated with a brand-new home, brand-
new vehicles and brand-new possessions plus an amount of$lZ,OO0,000 and over.
L}_tlg//¢/<l/// /_7
Peter A. l\/luntaiier
|’eop|es (}as North Shore Gas
l_ lii relation, to the unresolved issues ofldentity Theft and l\/loitgage Fraud; Peter A.
l\/luntaner of Peoples Gas was aware that l, Trina L_ Carpenter started disputing Peoples
(}as under US (`onimerce (`omplaint l\lumber 15-0910 since l\'lay 11 2015 He was aware
that on i\/larch ~'l_ 2016 l executed my rights under 28 U,S.C § 1746 my rights to
territories possessions or commonwealths. l\/Ir. l\/luntaner was aware that l faxed
preponderance of evidence including a Police Report to Peoples Gas to prove l was a
\/"ictini of ldentity Theft & l\'lortgage Fraud who is under serious doctor care Under these
serious circtunstances Peoples Gas is in violation tor wrongly charging me for gas
service
2 l filed a complaint against Peoples Gas for shutting my gas offon l\/lay l ln 2016. l, Trina

la (`arpenter went to an Administration Hearing on October 18, 2016 under US

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(`ominerce (`ase l\lumber 15-0910_ l was instructed by the Administrating Law Judge of
that hearing to submit evidence to all parties involved

ln obedience l have done so and on l\/larch 91 2017; l attended a Second Administration

,`J)

l'learing against Peoples Gas. Peter A. l\luntaner of Peoples Gas handed me his business
card after l showed him an Updated Police Report of Deceptive Practice Financial
ldentity Theft. He was concerned about billing issues which led to federal questions

4_ 'l`he hearing was then continued to l\/lay 16, 2017 for an Evidentiary Hearing to be held l
was instructed by the Adininistrative Law Judge to submit the Updated Police Report
along with other updated preponderance of evidence to the Department ofConimerce at
the Evidentiary Hearing on l\/lay 16, 2017. Peter A. l\/luntaner was not present at the
l:1y'ideiitiary Hearing held on l\/Iay 16, 2017; instead, Tarsa Tucker of Peoples Gas was
present and she did admit to a billing error after Peoples Gas`s Attorney Richard
\/’eldquez questioned her about the error The error ofthe bill led to a federal question
involving federal statutes Peoples Gas is in violation for wrongly charging me for a bill
that was in error l\/ly Gas service was shut offl\/lay l l, 2016.

5. Under Federal Rule 8(a)(2) and lO(b) 1 plead to be compensated for everything that were
taken from us including home, possessions and vehicles plus a monetary demand Under
federal Rule 8(a)(3) l sought a reliefto be compensated with a brand-new home, brand-
new vehicles and brand-new possessions plus an amount of$12,000,000 and over.

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\'eroiiica Goiiiez
Sr. Vice President & General Counsel
l. ln relation to these unresolved issues of ldentity Theft and l\/lortgage Fraud', l. Trina L.

(`arpenter informally reported under US C`ommerce Complaint l\lumber 15-0910 on

December 15, 2015 that l saw someone who appears to be a squatter living at 9322 So.

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Perry Ave (`hicago lllinois 60620 located next door to my property climbing on the light

pole in the alley illegally tampering and tapping the lights Then this complaint moved

for a formal hearing with the Dept. ofConimerce on October 18, 2016. At the formal

 

hearing held on October 18_ 2016', l most importantly reported the squatter next door to
me who was illegally tampering with the lights l also informed ComEd that l was on
disability and that l am a Victim ofldentity Theft & l\/lortgage Fraud. Under these
circumstances l have been wrongly charged for electric services by (`omEd. l was
instructed at the formal hearing to submit my evidence by December 7, 2016. l submitted
a Police Report with preponderance ofevidence proving that l am a Victim of ldentity

Theft and Mortgage Fraud.

lJ

At that times Thomas S. O`Neil was the designated agent for ComEd_ Then on December
27, 2016n l received an email from ComEd informing me that Veronica Goniez is the
substitute agent for Thonias O`l\leil. After this there were not any more Administrative
llearings scheduled tor ComEd under my docket number which is 16-04414 As ofjune
30w 2017, l received a l\lotice of filing from ComEd’s attorney Rebecca A. Graham ofa
l\lotice of C`hange ofAddress to Service Lists in lCC Dockets and on August 9, 2017 l
received a Notice of ("hange of Address to lCC Service Lists by (`ommon Wealth Edison
Attorney Mark L. Go|dstein, The case has not been resolved l feel that ComEd is in
violation for wrongly charging me for electric services under the circumstances that l am
a disabled Victim of Moitgage Fraud and ldentity Theft in which someone was stealing

my electric services

L, )

lliider l"ederal Rule 8(a)(2) and 10(b) l plead to be compensated for everything that were

taken from us including honie, possessions and vehicles plus a monetary demand Under

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Federal Rule 8(a)(3) l sought a reliefto be compensated with a brand-new home, brand-

iiew' vehicles and brand-new possessions plus an amount of$l2,000,000 and over.

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l)aiiielle ID# DJE‘)()

l"ord Motor (jredit Company

1. ln relation to issues of ldentity Theft and l\/lortgage Fraud; lt Trina L, Carpenter spoke

to l,)anielle lD# DJ E()o ofthe Ford l\lotor Credit (`ompany on Thursday, December l,
2016 at l2:31pni (`,entral Time Danielle lD# DJE% admitted that the Ford l\/lotor
Credit (`ompany and the Ford l\/lanufacturer could not compensate me with a brand-
new vehicle due to Gl\/l Financial not following through with their procedures
Danielle further stated that Gl\/l Financial never reported my vehicle as a total loss to

the insurance company within their company These violations of not following

procedures led to a federal question that involve federal statutes

_[\)

Under Federal Rule 8(a)(2) and lO(b) 1 plead to be compensated for everything that
were taken from us including home, possessions and vehicles plus a monetary
demand Under Federal Rule 8(a)(3) l sought a reliefto be compensated with a brand-
new horne5 brand-new vehicles and brand-new possessions plus an amount of

312,000,000 and overt

Mr. Lefevour
()wiiei' of l\'lc(larthy Ford
l ln relation to these issues involving ldentity Theft; l, Trina L. Carpenter purchased a
vehicle at Mc(`ai'thy Foi‘d on July 2, 2004 The owner ofl\/lcCarthy Ford l\/lr, Lefevour
violated my civil rights after his employee Louis l\/linter read me my consumer rights

over the telephone in response to an incident that occurred with my vehicle that l reported

on February 10, 2015. Louis l\/linter admitted that my vehicle should be replaced under

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'_,.)

the NHTSA Law due to defects that can cause death Right after Louis l\/linter read me
these rights over the telephone he asked me for my social security number over the
telephone l stated to Louis l\/linter that l am not required to give you my social security
number over the telephone and you should not be asking me for my social security
number after you read me my consumer rights that l can get a replacement vehicle for no
cost to the consumer

After l, Trina L, (`arpenter would not give Louis l\/linter my Social Security l\lumber, l\/Ir.
Lefevour the Owner of l\lc(`artliy' Ford stated that he and his employees will not do any
more business with me l questioned ifyou all do not want to do anymore business with
me their why did Louis l\/linter ask for my social security number over the telephone”? On
February 12` 2015; NHTSA received a report of an incident that occurred with my
vehicle on February 10, 2015. Gn February 10, 2015; after igniting my vehicle7 smoke
was coming from the outside ofthe vehicle ln addition, the engine warning light
illuminated

’l`he vehicle was taken to the dealer where it was diagnosed and it was discovered that the
'l`ransmission needed to be replaced The Vehicle was not repaired The l\/lanufacturer
was made aware ofthe failure The Failure l\/Iileage was Unknown. Based upon the
NHTSA Reportw my privacy rights were somehow violated causing l\/lcCarthy Ford to
perform unfair and deceptive business practices against me and my family l based this
upon the fact that my vehicle was purchased at l\/lcCarthy Ford and later down the line
my information was somehow shared with l\/letro Ford. l\/Ietro Ford then got involved
with other defendants to performing incidents of deceptive practice of financial identity

theft against me and my family

 

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4_ l, Trina L. (`arpenter did not give out any pertinent information to authorize l\/lcCarthy
l*ord or l\/letro Ford to inquire about me and my family`s personal business After l would
not give l\lcCai‘tliy Ford my social security number; somehow, my vehicle was taken

away from me while still under NHTSA Case Reference l\lo# 10683088. l\/lc(`arthy Ford

is in violation for not following the correct procedures under the NHTSA Case.

 

l\'lc(`arthy Ford is also in violation for getting involve with other defendants and sharing
my personal information to perform a deceptive practice against me and my family
5 l.lnder Federal Rule 8(a)(2) and lO(b) l plead to be compensated for everything that were
taken from us including home, possessions and vehicles plus a monetary demand Under
Federal Rule 8(a)(3) l sought a reliefto be compensated with a brand-new home, brand-
new vehicles and brand-new possessions plus an amount of$l2,000,000 and over
/ ?cf,<`f/,/,<__/;_/i/L;t
Gregory (;. Pleska
(`ity ol`(lhicago l'leariiigs Administrations
l. ln relation to the unresolved issues of ldentity Theft and l\/lortgage Fraud on November 18,
2016 the City ofChicago Department of Administration Hearings Law Judge Gregory G.
Pleska failed to follow the correct procedures in accordance to what was previously followed
by the last two City Administrative Law Judges on Aug. 13, 2016 and Jun_ ll7 2016 in

consideration ofthe preponderance ofevidence l presented These judges previously granted

that l owe the City of`Cliicago 3000 amount for all fines and penalties

_~

lristead of Administrative Law Judge Gregory Pleska following the same procedures to
granting our debts to be waived to $0.00 amount to the City ofChicago; he conspired against
me and my family with the City of (`liicago Attorney`s Linebarger, Goggan, Blair and

Sampson stating that the City of`Chicago does not get involve with criminal investigations

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,\dministrative Law Judge Gregory Pleska fail to follow through with granting me and my

family with Restitution to \/'ictims of Crimes

b J

Under Federal Rule 8(a)(2) and lO(b) l plead to be compensated for everything that were
taken from us including home possessions and vehicles plus a monetary demand Under
federal Rule 8(a)(3) l sought a reliefto be compensated with a brand-new home, brand-new
\ ehicles and brand-new possessions plus an amount of`$l2,000`000 and over

Towai'ds Resolution:
l . l,lnder Federal Jurisdiction it was suggested by Experian Fraud Department to reach out

to Case Manager towards resolving this case 1, Trina L. Carpenter & Family has reach
out to the ldentity Theft Resource Center, Federal Housing Administration (FHA), Green
Path l’rogram for the Disabled (for Ongoing Financial Counseling)7 lleartland Health
.»\lliance (Federally Qualified), & Elam Davies Social Center (private organization)_ Any
Suggestions call me at the telephone number below.

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Sincerely Dated: September 5, 2017
jew Gl @ap»olm

'l`rina l.. Carpenter

0320 So, l’erry Ave.

(`hicagd ll,. 60620

(872)731-7282

